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1    HEATHER E. WILLIAMS, Bar No. 122664
     Federal Defender
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     heather_williams@fd.org
4
     Attorney for Defendant
5    GREGORIO MORENO VALENCIA
6                                IN THE UNITED STATES DISTRICT COURT
7                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA,                   )   Case No. 2:18-cr-194 KJM
9                                                )
                    Plaintiff,                   )   MOTION TO WITHDRAW THE FEDERAL
10                                               )   DEFENDER AND [PROPOSED] O R D E R
     vs.                                         )   GRANTING WITHDRAWAL AND
11                                               )   APPOINTING COUNSEL
     GREGORIO MORENO VALENCIA,                   )
12                                               )
                    Defendant.                   )
13                                               )
                                                 )
14
              The defendant has, under oath, sworn or affirmed as to his financial inability to employ
15
     counsel. The Federal Defender, appointed since the Initial Appearance, is unable to continue
16
     representing the defendant and moves to withdraw from representation and have Chris Cosca,
17
     who is willing to accept appointment, appointed effective February 6, 2019.
18
     DATED: February 8, 2019                               HEATHER E. WILLIAMS
19                                                         Federal Defender
20
                                                           s/Heather E. Wuilliams
21                                                         HEATHER E. WILLIAMS
                                                           Federal Defender
22
23                                                   ORDER

24            Upon the Federal Defender’s Motion and good cause appearing, IT IS HEREBY

25   ORDERED granting the Federal Defender’s Motion to Withdraw and appointing Chris Cosca,

26   effective February 6, 2019.

27   DATED: February 12, 2019.
                                                            UNITED STATES DISTRICT JUDGE
28

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